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                         4754 Calle De Nubos                                                                               "++l\^-R-
                    Las Cruces, llew Mexlco 88012



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                                ATTACHMENTA

             DESCRIPTION OF PROPERTY TO BE SEARCHEI)


 The residence at 4754 Calle de Nubes, Las Cruces, New Mexico 88012, is near the
 intersection of Calle de Nubes and Frida Diive in Las Cruces, New Mexico. The
 residence is the i2rh house to the west of Frida Drive, located on the north side of calle
 de Nubes,        single-family one-story residence has brown st rcco, a dark brown garage
             -The
'door, and flat roof. The front door is located near the middle of the residence and it hai a
 driveway and attached sidewalk from the street to the front door. There are three
 windows to the right ofthe front door, as viewed &om the skeet in front of the residence.
 The_numbers "4754" are painted on the curb in front ofthe residence and are also clearly
 marked to the left ofthe front door, when viewed from the street in front ofthe residence,

To include all outbuildings and structures on the property.

To get to 4754 Calle de Nubes, Las Cruces, New Mexico 88012 fiom the U.S. Border
Patrol Las Cruces station, travel east on N, Main St., which merges into eastbound
Highway 70. Exit onto Mesa Grande Drive and travel north on Mesa Grande Drive.
Tum west onto Engler Road and south onto Frida Drive. Tum west onto Calle de Nubes
and the destination will be on the north side ofthe street.




             4754 Calle de Nubes, Las Cruces, New Mexico 88012
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                                        ATTACHMENTB

                      DESCRIPTION OF PROPERTY TO BE SEIZED

The particular things to be seized include evidence, tuits, and insrumentalities ofthe violations
                                                                         patol Agent Roberto
9f 9nnrys set forth in the application/affidavit of united Srates Border
Melendez related to violations of harboring and conspiracy to harbor illegal iliens, in
violation 8 U.S.C. g 1324, including the following:


       l.     Valid and false travel immigration documents including passports, visas,
       immigra:tion forms and other related documenls.

       2,      Any and all computers, cellular telephones, personal tablets, laptop computers,
       personal elechonic devices, communication devices, two-way radios, pagcrs, and
       scanners that may have been used to help facilitate the tavel and harboring ofillegal
       aliens,

       3.    Any and all diaries, address books, nameg and notes ofledgers containing lists of
       names and addresses of individuals who may have been in contact with those individuals
       responsible for the smuggling ofillegal aliens.

       4.     Business records, financial records, ledgers, tansactions, account books"
       computerized records, and notes showing code names or nicknames; identifling
       information reflecting the tansactions for the itlegal aliens to those individualJ
       responsible for said violations, amounts ofmoney paid, or owed.

       5.     Any and all appointrnent calendars for all years.

       6.      Any and all illegal alien or sponsor lists, harborer or transporter lists, or any notes
       containing the individual names, telephone numberc of, and any conesponding records of
       accounts receivable, moncy paid or cash received to pay for the srnuggling ofillegal
       aliens.

       7.    Telephone and address books or notes, wtrich indicate a criminal association
      berween known and unknown persons,

       8.    Any financial institution, Westem Union, or Money Gmm records reflecting a
      business transaction with those involved in the snruegling harboring, or transportation of
      the undocumented aliens.

      9.       Any and all passports, accounts and records in fictitious names, false
      ide,ntification, money orders, cashier's checks relating to cash tansactions and records
      indicating the existence ofstash houses used in alien smuggling.
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10'   Airline tickeh or other docurnents relating to the tarcl ofthe slioos tom their
counfy of origin to the Udted Statcs.

II.    Any .amount
                     -of
                         cumcncy, ffnaaoid   iostummr sd.sther   itemo of valuc typicalty
procecds of illegal alicn smuggling;

12.    Indicia of0umership for 4754 Callc deNuteq Las Crucc$ NM 8t012.

I 3,_ Rccords, enraelopcs, Bccotmts, tfifieqrcOdencQ or   mteq in my fonn" to or from
     _
4754 Calle de Nu@ Las Cruces, NM EE0l2.
        Case 2:23-mr-00244-KRS Document 1 Filed 02/01/23 Page 5 of 10




                           IN TI.IE IJNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF NEW MEXICO

 IN TI{E MATTER OF TTIE SEARCH OF:
 4754 Calle de Nubes, Lrs Cruces, New                 Case   No.
 Mexico


                              A,T'FIDAVIT IN SUPPORT OF AN
                            APPLICATION TJNDER RUI,E 4T TOR A
                             WARRANT TO SEARCII AITID SEIZE


       I, Roberto X, Melendez a United Ststes Border Patrol Agent being first duly sworrq

hereby deposc and state as follows:


                        INTRODUCTION AND AGENT BACKGROT'ND


        l.       I make this affidavit in support of an applicatio,n under Rule 4l of the Federal

Rules of   criminal Ptrcedure for    a wanant to search the pre,mises knovsn as 4754   calle de Nubes,

Las cruces, New Mexico 88012, hercinafter the '?remiseg" further described in Attaclunent A,

for purposes of scarching for and seizing the items descdbed in Attachment B.


       2.       I am   a Border   Patol Agent with the United   States Border patrol assigned to the

Las cruces, New Mexico      united states Border P&ol station. During my t€,rilre with the unit€d

states Border   Patol, I am classified, tained and employed as a federal law enforcement officer

with statutory arrcst authority charged with conducting criminal investigations of alleged

violations offederal criminal stahrtes, including Tifle 8 ofthe United States Code. I hav€

conducted investigations related to immigration laws violations since 2006 and have specialized

in investigations involving human smuggling. I have received specialized taining on the subject

ofhuman suruggling, human trafficking and have been personally involved in investigations

couceming the subjcct matter.
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        3.         During my position as a United States Border Patrol Agent, I have participated in

numerous aspects of alien smuggling, iacluding physical surveillarcq undercover operations,

analysis of phone and financial records, and the anests of alien smugglers.               I   have interviewed

numerous defendants, and other wihesses having extensive knowledge of alien snruggler schemes

to include the operatiotr of stash houses. I have also spoken on numerous occasions with others

experienced       in   alien smuggling, concemitrg the methods and practices                         of    such

violators. Furthermore, I have atteruled training courscs specializsd in atien smuggling, Through

these investigationq training experiencer and conversatio,ns             with other law           enforcement

personnel,   I   have become familiar with the methods alien smuggters conspire to take hosbge,

tansport, conceal, harbor, or to shield from detection" undocumented aliens (uDAs). I have also

become familiar with the similar methods drug smugglers use to conduct           illicit activity.

       4.          Throughout the course ofmy l T.year career as a federal law enforcement officer,

I have worked with other state and federal law enforcement agencies to include the Deparnnent

of Homeland security. Through academy taining, specialized taining, experience, and working

with fellow agents and task force officers, I an familiar with violations of         E   usc   $ 1324,   I usc
$ 1325, and 8 USC $ 1326.


       5.         I know, bosed upon my training and e"xperience,   as   well   as   information relayed to

me during the course of my ofticial dutieg that members of ASos and DTos routinely use wire,

electronic, and applicarion communication &cilities, including cellular telephones, whatsApp,

Messenget, Facebook, other electronic meanr,          to   communicate operational directives and

information conceming the conduct of the organiz*ion's illegal activities to other organization

members. I also know that individuals who deal io alien smuggling commonly maintain contact
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information, such as lelephone nurnbers, for their business associates in their electrodc devices,

including cellphones,

        6.       During the course of my duties, I hsve found that ASOs and DTOs often utilize

ledgers to keep track of how many aliens they smuggle or to track smuggling transactions. I have

also intervi€\,v,ed alien srn'rgglers who workcd for different ASOs, yet they utilized the same stash

houses and tansport    vehicles. I have also found that alien smugglers often times     use firearms   for

protection from rival ASOs, DTOs, and law enforcement

       7.        Because this   Affdavit is being submiued for the limited purpose of        securing

a search warran! I have not included details of every aspect or each and every fact known to me

conceming this investigation. I have set forth only those facts that I believe are necessary to

establish probable cause for a search    ofthe Premises. I make ttris Affrdavit based on personal

knowledge and on the basis of information received from other law enforcernent officers and/or

agents, Based upon my training experiencc, and participation in this and other investigations, I

have reason to   beliwe that there will be evidence of alien smuggling harboring of alicns, and

conspiracy to harbor aliens, in violation of 8 USC $ 1324 inside the Prernises.

                                            BACKGROUND


       L         The statemenb   it   this affidavit are based on infomation I have gained through

investigation as well as my own experience, taining, and background as a Border Patol Agent

working at the Las Cnrces, New Mexico Anti-Smuggling Unit and information prrovided by other

laur enfo,rcement agents who I believe to be reliable. Since this affidavit is being zubmitted    for

the limited purpose of secr.ning a search wanant, I have not included each and every fact known

to me concerning this investigation. As      will   be shown below, there is probable cause to believe
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that evidence, fruits, and instrumentalities of violations of 8   usc   $ 1324 are cunently located at

the Premises.


        9.        I am submitting this affidavit in suppon ofa search warrant authorizing    a search

of the Premises, which is more pfiicularly described in Attachment        A. I am requesting
authority to search the entire Premiseg including the residential dwelting and any location within

the residence where the items specified in Attachment B may be found, and to seize all items

listed in Attachment B as instrumentalities, fruits, and evidence of crime.

                                          PROBABLECAUSE


        10.       On or about August 22,2022, JrmGallegos was encountered by law enforcement

at the Bridge of the Americas Port of Entry in El Paso, Texas. During thc encountcr, Gallegos


was found to be in possession of approximately $3,00Q which he admitted were p,roceeds

derived from the transpoftation of illegal aliens.


        1   1.    Record checks revealed that Juan Oallegos resided at 4754 Calle de Nubes in Las

Cruces, New      Mexico. Surveillance efforts conducted by law enforcement on November         17,

November 18, November 28, and Deoember 9, 2022, rwealed that a large number of vehicles,

many of which displayed fictitious license platesr wErE regularly coming and going Aom the

residence, Bascd on my training and experiercq this is a common oceuJIence th8t occllls at

places that are housing illegal aliens.


        12.       On February 01,2023, Roberto Vasquez-Prado was atternpting to smuggle five

illegal aliens north of Las Cruces, New Mexico. He was caught by law enforcement and gave

the following statement. Vasquez-Prado stated that he had knowledge of a stash house that

curenrly had an unknown number of illegal aliens. Vasquez-Prado stated that he was willing to
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show Agent Melendez the location of the stash house. At ap,p,roximately 0400 hous, Vasquez-

Prado took agent Melendez to 4754 Calle de Nubes, in Las Cruces, New Mexico,

88012' Vasquez-Prado stated tlat he was certain that there were illegal alicns at 4754 Calle de

Nubes, in Las Cruces, New Mexico, 88012.


         13,      On February 01,2023, Border Patrol and Homeland Security Investigations

attempted to conduct a knock-and+alk at4754 calle de Nubes to inquire about illegal aliens

being housed at the residcnce, As agents approached the front door, they observed a pernranent

resident card laying on ihe ground next to the driveway. A closer inspectiou ofthe card reveated

that it was fictitious, as it did not contain the proper security features utilized in legitimate

resident cards.

         14.      When qgents knocked on the fiont door, they observed a subject peek through the

blinds ofthe windows next to the front door, but the occupants ofthe residence refused to answer

ttrc door.

        15.       Agents conducted record checks oftwo vehicles parked at the rcsidence, The first

vehicle, a silver Ford Fusion bearing oklahoma license plare      "LVy5T0," parked in the driveway,
was found to have an active alert for possible human smuggling through Border Parrol. The

other vehicle, a geen Jeep bearing fictitiou5 temporary license plate .,1700568,', displayed a

vehicle identification aumber that show€d the vchicle uas registered to Juan Gallegos.

        16.       While investigating agents leamed &om neighbors who resided neaby that

vchicles bearing temporary license plates rcgularly anive at4754 Calle de Nubes and drop            off
multiple subjeots. Based on my taining and expcrience, it is common for places that serve as
                                                                        -stgs
stash houscs for   illegal aliens offen have vehicles with ternporary           coming and going.

                                        CONCLUSION
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        17   ,   Based on the aforementioned factual informatiorq I respectfirlly submit thst there

is probable cause to b€lieve that evidence, Auits and instrumentalities used in committing

violations of8 USC g 1324, transporting and hrboring illegal aliens, and conspiracy to do the

same, which are listed   specifically in Attaohmcnt B, incorporated herein by referenoc, are

presently located at the Prernises,


        18.      Accordingly, I respectfully requegt that this Cout issue a warrant artrhorizing a

search of the Premises, which is described with   particulrity in Attactrment A, for the items

described in Attachment B.




                                                        oberto X. Melende4 Pa




       Subscribed and swom before me by.-telephone
       this$pylfFehwyFff3l
                 lfizLJ*"o*
       United Stat€s Magistate Judge
